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                IN THE UNITED STATES DISTRICT COURT FOR
                  THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA         :
                                 :
      v.                         :
                                 : No. 4:18-CR-374
LAMONT PAYNE,                    :
                                 :(Magistrate Judge Arbuckle)
                  Defendant.     :
                                 : Judge Brann


             BRIEF IN SUPPORT OF DEFENDANT’S MOTION
     FOR REVIEW AND REVOCATION OF PRE-TRIAL DETENTION ORDER

     Defendant Lamont Payne, by and through his undersigned

counsel, hereby submits this Brief in support of his Motion for

Review and Revocation of the pre-trial detention Order.

                 FACTUAL BACKGROUND AND PROCEEDINGS BELOW

     In 1998, then-20 year old Lamont Payne was sentenced

to approximately 22 years for armed robbery in the District

of Columbia.

     On October 8, 2018, while an inmate serving that

sentence at USP Allenwood, Mr. Payne and another individual

Floyd Long, were charged with Possession of Contraband in

Prison, pursuant to 18 U.S.C. § 1791.      Notably, the item

possessed, - a handmade sharpened piece of plastic – was

not used in any way.

     On November 26, 2018, an initial appearance and

arraignment was held before Magistrate Judge Arbuckle.
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Given that Mr. Payne was still serving his 1997 sentence,

Mr. Payne did not contest detention at that juncture, but

reserved the right to challenge it.      The Court ordered

detention based solely on the fact that Mr. Payne was

already serving a federal sentence.      No other factors were

identified in favor of detention.      (Doc. 16).

     On January 29, 2020, Mr. Payne entered a guilty plea

before the Court to a single count of Possession of

Contraband.   Among other things, the negotiated plea

agreement called for a range of six months below the bottom

of the guideline to the bottom of the guideline range.         A

pre-sentence report (“PSR”) was ordered and prepared.         At

the moment, without any objections, the present advisory

guidelines are 12 to 18 months.     (PSR ¶58).      Objections to

the PSR are forthcoming.    Mr. Payne is awaiting sentencing.

     Earlier this week, on April 21, 2020, Mr. Payne

completed his 1997 federal D.C. sentence.        He was released

from BOP custody (from FCI Pollock, Louisiana) and is being

detained only on the original detention order in this case.

Mr. Payne is currently confined at the St. Martin Parish

Correctional Center in St. Martinsville, Louisiana.

     On April 24, 2020, Mr. Payne filed a motion for review

and revocation of the detention order.      Accordingly, this

Brief is being submitted in support of that Motion.

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                                 ARGUMENT

     MR. PAYNE SHOULD BE RELEASED BASED UPON COMPELLING REASONS
     INCLUDING, BUT NOT LIMITED TO, HIS CHANGED CIRCUMSTANCES –
 INCLUDING HIS RELEASE FROM BOP CUSTODY, LACK OF FLIGHT AND DANGER
       TO PUBLIC AND THE NEW COVID-19 PUBLIC HEALTH CONCERNS.

     The Bail Reform Act contains a presumption of release on

personal recognizance without any conditions.       See 18 U.S.C. §

3142(b) (“the judicial shall order the pretrial release of the

person on personal recognizance . . . unless the judicial officer

determines that such release will not reasonably assure the

appearance of the person as required or will endanger the safety of

any other person or the community.”) (emphasis added).         Liberty is

the norm and “detention prior to trial or without trials is the

carefully limited exception.”     United States v. Salerno, 481 U.S.

739, 755 (1987).   In Salerno, the Supreme Court upheld the Bail

Reform Act, 18 U.S.C. § 3142, but held that the Act “carefully

limits the circumstances under which detention may be sought to the

most serious crimes.”   Id. at 747.

     The only permissible bases for detaining a defendant are the

enumerated factors set forth in 18 U.S.C. § 3142(f).        It is illegal

to detain a defendant unless the Government establishes one of the

factors listed in § 3142(f).     See United States v. Himler, 797 F.2d

156, 160 (3d Cir. 1986).

     A court may release a defendant pending sentencing provided

that the court finds by clear and convincing evidence that the


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person is not likely to flee or pose a danger to the community.

See 18 U.S.C. § 3143(a)(1).

     Furthermore, a “judicial officer may, by subsequent order,

permit the temporary release of the person, in the custody of a

United States marshal or another appropriate person, to the extent

that the judicial officer determines such release to be necessary

for the preparation of the person’s defense or for another

compelling reason.”    18 U.S.C. § 3142(i).

     Applying these standards, Mr. Payne should be released pending

sentencing.

     At the outset, it bears highlighting that Mr. Payne is

detained in violation of the law because none of the seven

§ 3142(f) factors have ever been satisfied.       The detention order

makes clear that the only reason Mr. Payne was detained at that

time was because he was already serving a sentence.        Def. Ex. A

(ECF Doc. 16).    None of the other § 3142(f) factors were cited to

or found by the Court.    Therefore, since Mr. Payne is no longer

serving a sentence and none of those factors have been satisfied,

on this basis alone he should not be detained and immediately

released.     See Himler, 797 F.2d 160; United States v. Singleton,

182 F.3d 7, 9 (D.C. Cir. 1999) (unless statutory threshold set out

in § 3142(f) is met, “detention is not an option.”); United States

v. Byrd, 969 F.2d 106, 109 (5th Cir. 1992) (“detention can be



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ordered, therefore, only in a case that involves one of the           . . .

circumstances listed in (f).”).

     Second, the human race is facing a global pandemic caused by a

strain of the coronavirus, COVID-19.      See WHO Characterizes COVID-

19 as a Pandemic, World Health Organization (March 11, 2020),

https://who.int.   The United States has been hit particularly hard.

There are more than 880,000 reported cases, with over 50,000

deaths.   See Johns Hopkins University, Coranvirus Resource Center,

(Apr. 24, 2020), www.coronavirus.jhu.edu.        Pennsylvania has

approximately 40,000 cases, with over 1,700 deaths.        Id.      Louisiana

has over 26,000 reported cases and over 1,600 deaths.         Id.     The

Centers for Disease Control (“CDC”) has issued guidelines to take

immediate preventive actions, including avoiding crowded areas,

social distancing measures, avoiding non-essential travel, and

staying home as much as possible.      See www.cdc.gov.

     On March 6, 2020, Governor Tom Wolf signed an emergency

disaster declaration, with the most recent proclamation

declaring a state of emergency that will close all “non-

essential businesses” in the state.      See

www.governor.pa.gov/news.

     The coronavirus has affected state and federal judiciary

operations throughout the Commonwealth.        The Pennsylvania

Supreme Court has ordered all Pennsylvania courts closed except

for essential functions.    See In re: General Statewide Judicial

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Emergency, Orders Nos. 531, 532, March 18, 2020.        Standing

Orders signed by Chief Conner have been issued recognizing the

significant health concerns caused by COVID-19 and disruption of

normal courthouse operations in the Middle District of

Pennsylvania.   The Court also recognized that the CDC, as well

as state health authorities advised that precautions be taken to

avoid exposure to the virus and prevent its spread.

     Prisons and jails have “long been known to be associated

with high transmission probabilities of infectious diseases.”

Letter from Patricia Davidson, Dean, Johns Hopkins School of

Nursing, et al., to Hon. Larry Hogan, Governor of Maryland

(March 25, 2020), https://bioethics.jhu.edu/wp-

content/uploads/2019/10/Johns-Hopkins-faculty-letter-on-COVID-

19-jails-and-prisons.pdf (co-signed by over 200 faculty members

of Johns Hopkins Bloomberg School of Public Health, School of

Nursing and School of Medicine).       Prisons and jails “contain

high concentration of people in close proximity and are breeding

grounds for uncontrolled transmission [of infection].”         Letter

from Dr. Sandro Galea, Dean, Boston University School of Public

Health, et al., to President Trump 1 (March 27, 2020),

https://thejusticecollaborative.com/wp-

content/uploads/2020/03/Public-Health-Expert-Letter-to-Trump.pdf

(co-signed by numerous public health officials from leading

medical and public health institutions).       “Prisons are petri

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dishes for contagious respiratory illnesses.”          Letters to the

Editor:     A Prison Doctor’s Stark Warning On Coronavirus, Jails

and Prisons, Los Angeles Times (March 20, 2020), at

https://www.latimes.com/califronia/story/2020-03020/prison-

doctors-stark-warning-on-coronavirus-and-incarceration.

Conditions of pre-trial confinement create the ideal environment

for the transmission of contagious disease.          Joseph A. Bick,

Infection Control in Jails and Prisons, Clinical Infectious

Diseases 45(8), (2007).       Prisons and jails are especially

vulnerable to COVID-19 outbreaks.         Nicole Wetsman, Prisons and

Jails are Vulnerable to COVID-19 Outbreaks, The Verge, March 7,

2020.     Incarcerated individuals have poorer health than the

general population, and even at the best of times, medical care

is limited.     See Laura M. Maruschak et al., Medical Problems of

State and Federal Prisoners and Jail Inmates, 2011-12, NCJ

248491 (2015), U.S. Dep’t Justice, Bureau of Justice Statistics,

at https://www.bjs.gov/content/pub/pdf/mpsfpji1112.pdf.

        In consideration of the unparalleled throes of this public

health crisis, the Court should consider Mr. Payne’s release.

As the PSR notes, he does suffer from asthma and other ailments.

PSR ¶ 47.     As a result, Mr. Payne’s respiratory condition,

combined with the surroundings of his confinement, movement in

and out of custody, create the ideal environment for contracting



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COVID-19.    His asthma status alone places him at higher risk of

death if he contracted the virus.

       Finally, Mr. Payne is not a flight risk or a danger to the

community and otherwise meets the criteria for release under §§

3142 and 3143.

       Mr. Payne is 43 years old.     He has spent the last 22

years in federal prison.      He has spent more of his life in

federal prison that he has on the streets of Washington

D.C.   Mr. Payne has only a junior high school education and

is legally disabled.     He is learning-impaired with a full-

scale IQ of 61, and until his incarceration, was receiving

Social Security Income due to that disability.         (PSR ¶¶ 51,

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       Mr. Payne was born and raised in the District of

Columbia and has significant and lifetime ties to the D.C.

area, including his mother Celeste Payne, his father

Charles Clock, paternal grandmother, Elizabeth Clock and

one surviving sibling, Antonio Payne.        All of his family

remains supportive of him.      His mother, Celeste has worked

for the federal government (Government Publishing Office)

for 37 years.    She has agreed to be Mr. Payne’s third-party

custodian.    If released, Mr. Payne would reside with his

grandmother Elizabeth Clock.



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     Furthermore, upon Mr. Payne’s release to the street,

he is already ordered to report to the D.C. probation

officer for five years of supervised release as part of his

prior sentence.    If that is not enough, his mother, a

federal employee for 37 years, will act as Mr. Payne’s

third-party custodian.

     The Court should further consider the fact that

pursuant to Mr. Payne’s plea agreement, his current

guideline sentence, before any objections to the PSR and

any variances, is 12 to 18 months.     The plea agreement

includes contemplation of a six month sentence below the

bottom of the 12 month guidelines, or 6 months.        Thus, home

detention and/or electronic monitoring are within the realm

of sentencing alternatives.

     Finally, the treatment of a very real human being is

at stake here.    That individual, Lamont Payne, who

possesses an IQ of 61, is legally disabled, has been

incarcerated for the past 22 years.      Mr. Payne is beloved

by his family, yet because of their financial limitations

and Mr. Payne’s locations of confinement, he has not seen

family, including his dearly loved mother, for over a

decade.




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     Mr. Payne’s continued detention, under these

extraordinary circumstances, is legally and morally

unnecessary.   The Court should order his release.

                                CONCLUSION

     Accordingly, for the foregoing reasons, it is respectfully

requested that the Court grant a hearing, telephonic or in person

on Mr. Payne’s Motion for Review and Revocation of the Detention

Order and release him upon any of these conditions and such other

conditions as the Court deems appropriate.




Dated:    April 24, 2020

                                 MIELE & RYMSZA, P.C.


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                         CERTIFICATE OF SERVICE

     I, Edward J. Rymsza, Esq., hereby certify that on this 24 th day

of April 2020, I served the foregoing Brief in Support of Motion

for Review and Revocation of Pre-trial Detention Order upon Alisan

Martin, Esq. by electronic mail.



Dated:    April 24, 2020


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